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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

UNITED STATES OF AMERICA                   §
                                           §
                                           §
VS.                                        §   CRIMINAL NO. H-06-52-2
                                           §
                                           §
JUAN JOSE CAVOZOS                          §

                                      ORDER

        Defendant Cavazos filed an unopposed motion to continue the sentencing hearing

(Docket Entry No. 844). The motion for continuance is GRANTED. The sentencing hearing

is reset to December 8, 2009, at 10:00 a.m. Objections to the presentence report will be

due by November 20, 2009.


             SIGNED on September 29, 2009, at Houston, Texas.

                                         ______________________________________
                                                    Lee H. Rosenthal
                                               United States District Judge
